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               IN THE UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF OKLAHOMA


JAMES EZELL, III,                               )
                                                )
                Plaintiff,                      )
                                                )
v.                                              )           CIV-19-302-JFH-SPS
                                                )
DAMON HININGER, et al,                          )
                                                )
                Defendants.                     )


     ORDER STAYING PROCEEDINGS AND REQUIRING SPECIAL REPORT

         The court has determined that an investigation and report would be helpful in

determining whether there are any factual or legal bases for Plaintiff’s claims. See Hall v.

Bellmon, 935 F.2d 1106 (10th Cir. 1991); Martinez v. Aaron, 570 F.2d 317 (10th Cir. 1978).

         ACCORDINGLY, IT IS HEREBY ORDERED that:

         (1)    Officials responsible for the institution(s) involved in the alleged civil rights

                violation shall undertake a review of the subject matter of the complaint:

                (a)    to ascertain the facts and circumstances;

                (b)    to consider whether any action can and should be taken by the

                       institution(s) or other appropriate officials to resolve the subject matter

                       of the complaint; and

                (c)    to determine whether other like complaints, whether pending in this

                       court or elsewhere, are related to this complaint and should be taken up

                       and considered together.

         (2)    In the conduct of the review, a written report shall be compiled and filed with
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          the court. Authorization is granted to interview all witnesses including

          Plaintiff and appropriate officers of the institution(s). Wherever appropriate,

          medical or psychiatric examinations shall be made and included in the written

          report. Any rules and regulations pertinent to the subject matter of the

          complaint shall be included in the written report.

    (3)   All pending motions in this case are hereby stricken without prejudice. No

          applications, motions, or discovery should be filed or considered until the steps

          set forth in this Order have been completed, except as the court further orders.

    (4)   It is desired that the report made in the course of this investigation be attached

          to and filed with Defendants’ answer or dispositive motion. The report and

          Defendants’ answer or dispositive motion, shall be filed no later than sixty

          days from this date.


    IT IS SO ORDERED this 29th day of September, 2020.




                                       _____________________________________
                                       STEVEN P. SHREDER
                                       UNITED STATES MAGISTRATE JUDGE




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